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                                              THE CITY OF NEW YORK
HON. SYLVIA O. HINDS-RADIX
                                            LAW DEPARTMENT                                             JOHN SCHEMITSCH
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                                                                                October 18, 2023

      VIA ECF
      The Honorable Cheryl L. Pollak
      United States Magistrate Judge
      Eastern District of New York
      225 Cadman Plaza East
      Brooklyn, New York 11201

                      Re: Campbell v. Adams, et al., 23-CV-06435 (RPK) (CLP)

      Your Honor:

                     I am a Senior Counsel in the office of the Honorable Sylvia O. Hinds-Radix,
      Corporation Counsel of the City of New York, and the attorney for defendants City of New York
      and Mayor Adams in the above referenced matter. 1 I write pursuant to the Court’s October 5, 2023
      Order directing defendants to provide a proper service address for Officer Anthony Patti. See ECF
      No. 15. Defendants respectfully note that the proper service address for Anthony Patti is 103rd
      Precinct, 168-02 91st Ave, Queens, NY 11432.

                      Thank you for your consideration herein.


                                                                        Respectfully submitted,

                                                                                /s/

                                                                        John Schemitsch
                                                                        Senior Counsel
                                                                        Special Federal Litigation Division



      1
        This case has been assigned to Assistant Corporation Counsel Mamoon Saleemi, who is not yet admitted
      to the Bar and is handling this matter under supervision. Mr. Saleemi may be reached directly at (212) 356-
      2384 or by email at msaleemi@law.nyc.gov.
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 cc:   VIA FIRST CLASS MAIL
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